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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )          4:04CR3107
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )          ORDER
                                           )
STACEY V. BURLING,                         )
                                           )
             Defendant.                    )

      IT IS ORDERED that:

       (1) The defendant’s motion for issuance of subpoenas in forma pauperis
(filing 51) is granted;

      (2) As to the subpoenas requested in filing 51, the defendant is relieved of
any obligation to pay for the costs of said subpoenas; the witness fees, travel expenses
and subsistence will be paid by the United States; and the subpoenas shall be served
by the United States Marshal Service.

      DATED this 9th day of May, 2005.

                                               BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
